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 9                                IN THE UNITED STATES DISTRICT COURT

10                                    EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                            CASE NO. 5:19-MJ-00053 JLT
12
                                   Plaintiff,             [PROPOSED] FINDINGS AND ORDER
13                                                        EXTENDING TIME FOR PRELIMINARY
                             v.                           HEARING PURSUANT TO RULE 5.1(d) AND
14                                                        EXCLUDING TIME
     URIEL IVAN PORTILLO PORTILLO,
15                                                        (Doc. 53)
                                  Defendant.
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            The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing
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     Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on December 4, 2019.
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     The Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,
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     demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule
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     5.1(d) of the Federal Rules of Criminal Procedure.
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            Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests
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     of justice served by granting this continuance outweigh the best interests of the public and the defendant
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     in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would
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     not adversely affect the public interest in the prompt disposition of criminal cases.
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      [PROPOSED] FINDINGS AND ORDER                        1
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           Case 1:19-cr-00266-JLT-SKO Document 12 Filed 12/04/19 Page 2 of 2


 1         THEREFORE, FOR GOOD CAUSE SHOWN:

 2         1.      The date of the preliminary hearing is extended to December 9, 2019, at 2:00 p.m. in

 3 Fresno, California.

 4         2.      The time between December 6, 2019, and December 9, 2019, shall be excluded from

 5 calculation pursuant to 18 U.S.C. § 3161(h)(7)(A).

 6         3.      Defendant shall appear at that date and time before the Magistrate Judge on duty at the

 7 Federal Courthouse, 2500 Tulare Avenue, Fresno, California.

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     IT IS SO ORDERED.
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10      Dated:    December 4, 2019                           /s/ Jennifer L. Thurston
                                                     UNITED STATES MAGISTRATE JUDGE
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      [PROPOSED] FINDINGS AND ORDER                     2
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